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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA
UNITED STATES OF AMERICA,
v.
Crim. No. 17-201~01 (ABJ)
PAUL J. MANAFORT, JR.,

Defendant.

DEFENDANT PAUL J. MANAFORT, JR.’S REPLY REGARDING
SPECIAL COUNSEL’S PROPOSAL CONCERNING PLEDGING PROPERTIES

Defendant Paul J. Manafort, Jr., by and through counsel, hereby files this reply to
the Special Counsel’s proposal regarding the pledging of both the Washington State and
New York properties, as directed by the Court in the Minute Order dated May 18, 2018.
The defendant has no objection to the proposal.

Dated; May 25, 2018 Respectfully submitted,

/s/
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